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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

John Doe
                                    Plaintiff,
v.                                                      Case No.: 1:18−cv−07335
                                                        Honorable Gary Feinerman
Loyola University Chicago
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, March 14, 2019:


       MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 5/22/2019 at 9:00 a.m. Oral argument held on Defendant's partial motion to
dismiss [27]. The motion is taken under advisement.Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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